Case 2:02-CV-02455-.]DB-STA Document 84 Filed 06/08/05 Page 1 of 2

1N THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION
SMITH & NEPHEW, INC.,
Plaimiff,
VS.

No. 02-2455 B/An

FEDERAL INSURANCE CO.,

Defen dant.

Page|D 89

Fll.ED B"f ___ , ___,_ D.C

05 JUN -8 PH hr l

moen-m a et rescue
create e.a. mar er.
W.t). er m, manage

 

ORDER SETTING HEARING

 

Before the Court is Defendant’s Motion to Compel filed on May 2, 2005. United States

District Judge J. Daniel Breen referred this matter to the Magistrate Judge for determination

After consideration, it is ORDERED that a hearing shall be held before United States Magistrate

Judge S. Thomas Anderson on TUESDAY, JUNE 21, 2005 at 11:00 A.M. in Courtroom M-3,

9th F 100r, Federal Building, Memphis, Termessee.

<S.WM @,/

S. THOMAS ANDERSON

IT IS SO ORDERED.

UNITED STATES MAGISTRATE JUDGE

Date: gm 03' paa__\_"

Th:'s document entered am the docket eha-et in com iiance
with Ru|e 58 and/or 79(3) FHCP on *

_' f

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 84 in
case 2:02-CV-02455 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. Box 775000

Memphis7 TN 38177--500

Martin C. Pentz

FOLEY HOAG LLP

Seaport World Trade Center West
15 5 Seaport Blvd.

Boston7 MA 02210--260

William B. lakes
HOWELL & FISHER

300 J ames Robertson Pkwy
Nashville, TN 37201--1 10

Honorable J. Breen
US DISTRICT COURT

